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              Appendix 1
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                                                       USDC SDNY
UNITED STATES DISTRICT COURT                           DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                          ELECTRONICALLY FILED
DAVID FLOYD, et al.,                                   DOC #:
                                                       DATE FILED:
                             Plaintiffs,

              -against-


CITY OF NEW YORK,                                               08 Civ. 1034 (AT)

                             Defendant.
KELTON DAVIS, et al.,

                             Plaintiffs,

              -against-
                                                                 10 Civ. 699 (AT)

CITY OF NEW YORK,

                             Defendant.
JAENEAN LIGON, et al.,

                             Plaintiffs,

              -against-                                         12 Civ. 2274 (AT)


CITY OF NEW YORK,                                                    ORDER

                             Defendant.
ANALISA TORRES, District Judge:

        On July 19, 2018, this Court ordered the parties to submit a joint proposal for a pilot
program to study the electronic documentation of certain elements of first- and second-level
police-citizen encounters. ECF No. 619. On August 9, 2018, this Court further ordered that the
proposed program study the use of body-worn cameras (“BWCs”) in first-level encounters. ECF
No. 634. The parties then asked the Monitor to develop a program to satisfy both orders. After
consulting with the parties, the Monitor submitted a proposal on November 9, 2018, ECF No.
660-1, and submitted a revised proposal (the “Combined Pilot”) on January 29, 2019, ECF No.
687. This Court approved the Combined Pilot on February 7, 2019. ECF No. 691.
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        The Combined Pilot was a study using graduate students riding in police cars with New
York City Police Department (“NYPD”) officers to observe police-citizen encounters. Because
of the COVID-19 pandemic, that study is now not advisable. Accordingly, on December 14,
2020 and January 27, 2021, the Monitor made submissions asking this Court to vacate its
July 19, 2018, August 9, 2018, and February 7, 2019 orders and, in their place, enter a new order
requiring two things. ECF Nos. 805, 816. First, the Monitor requested that the new order
require the City to implement the plan it developed to make some of the policy changes that the
Combined Pilot would have studied (the “Alternative Plan”), which is detailed in the City’s
February 21, 2020, August 18, 2020, and September 9, 2020 letters included as Appendix 1 to
the Monitor’s December 14, 2020 submission and as Exhibit A to this order. Second, the
Monitor requested that the new order require the City to give full support to certain studies
designed to capture information that the Combined Pilot would have developed (the “Proposed
Studies”), which are described in the memoranda included as Appendix 2 to the Monitor’s
December 14, 2020 submission and as Exhibit B to this order.

        The Alternative Plan has two principal parts. First, it will require NYPD officers
citywide to activate their BWCs for first-level encounters, except when officers have those
encounters (a) in situations that the NYPD has designated as “do not record” situations; (b) while
addressing motor vehicle accidents; (c) in situations where a person requires medical assistance,
except that the involvement of an emotionally disturbed person is not a reason for not recording;
or (d) while taking reports on past crimes. Second, it will require officers to manually enter
information into a form on evidence.com: for first-level encounters, officers must enter the level
of the encounter; for second-level encounters, officers must enter the level of the encounter, the
race and gender of the primary person encountered, and whether multiple persons were
encountered. The manually entered information supplements the information that will be
captured by the BWC recordings: date, time, officer information, command, and length of
recording.

        The Proposed Studies will principally examine officers’ compliance with applicable legal
requirements in police-citizen encounters, racial disparities in officers’ compliance and
escalation in those encounters, and whether those encounters are appropriately documented. As
with the Combined Pilot, the Proposed Studies can succeed only if the City embraces them by
paying for all of their reasonable costs and fully supporting them as the Monitor directs.

        Together, the Alternative Plan and Proposed Studies are an appropriate and adequate
substitute for the Combined Pilot in light of the circumstances, for the reasons articulated in the
Monitor’s December 14, 2020 and January 27, 2021 submissions. Accordingly, it is hereby
ORDERED that:

       1. This Court’s July 19, 2018, August 9, 2018, and February 7, 2019 orders requiring
          studies of potential documentation and recording requirements are VACATED.

       2. The Alternative Plan, described in the letters attached as Exhibit A to this order, is
          APPROVED, and the City is ordered to implement the requirements of that Plan.



                                                 2
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      3. The Proposed Studies, described in the memoranda attached as Exhibit B to this
         order, are APPROVED, and the City is ordered to assume all reasonable costs of
         those Studies and provide full support for their implementation as directed by the
         Monitor.

SO ORDERED.

Dated: ___ 2021
       New York, New York



                                                                     ANALISA TORRES
                                                                 United States District Judge




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